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10
                       UNITED STATES DISTRICT COURT
11
                         CENTRAL DISTRICT OF CALIFORNIA
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     STRIKE 3 HOLDINGS, LLC,        )
13   Plaintiff,                     ) Case No.: 8:20-cv-02244-TJH-SPx
14   vs.                            )
                                    ) JUDGMENT [JS-6]
15    JOHN DOE subscriber           )
16    identified as IP address      )
      99.24.231.69                  )
17                                  )
18                                  )
     Defendant.                     )
19                                  )
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                                    )
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                                      JUDGMENT
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1         Pursuant to Fed. R. Civ. P. 68, the Court enters Judgment as follows:
2
3         1. Judgment shall be entered that JOHN DOE subscriber assigned IP address
4               99.24.231.69 did not infringe; and
5         2. JOHN DOE subscriber assigned IP address 99.24.231.69 shall pay Strike 3
6               Holdings, LLC $ 3,250.00.
7
8                                         SO ORDERED:

9    Dated: OCTOBER 12, 2022
10                                        UNITED STATES DISTRICT JUDGE

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                                         JUDGMENT
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